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 United Nations Independent Expert on protection against violence and discrimination
             based on Sexual Orientation and Gender Identity - IESOGI




REPORT ON
CONVERSION
THERAPY
WHAT IS CONVERSION THERAPY?
“Conversion therapy” is used as an umbrella      other gender diverse persons are sick,
term to describe interventions of a              inﬂicting severe pain and suffering, and
wide-ranging nature, all of which have in        resulting in long-lasting psychological
common the belief that a person’s sexual         and physical damage. Conversion therapy
orientation or gender identity (SOGI) can and    currently happens in a multitude of countries,
should be changed. Such practices aim (or        in all regions of the world.
claim to aim) at changing people from gay,
lesbian or bisexual to heterosexual and from     In 2012, the Pan American Health
trans or gender diverse to cisgender.            Organization (PAHO) noted that “conversion
Depending on the context, the term is used       therapies” had no medical justiﬁcation and
for a multitude of practices and methods,        represented a severe threat to the health and
some of which are clandestine and therefore      human rights of the affected persons, and in
poorly documented.                               2016, the World Psychiatric Association found
                                                 that “there is no sound scientiﬁc evidence
The term “therapy”, derived from the Greek,      that innate sexual orientation can be
denotes “healing”. However, practices of         changed”. In 2020, the Independent Forensic
“conversion therapy” are the very opposite:      Expert Group (IFEG) has declared that
they are deeply harmful interventions that       offering “conversion therapy” is a form of
rely on the medically false idea that LGBT and   deception, false advertising and fraud.



WHO ARE ITS PROMOTERS AND PERPETRATORS?
Perpetrators of “conversion therapy”             State ofﬁcials, including judges or police
practices include private and public mental      ofﬁcers, may order “conversion therapy”, even
health-care providers, faith-based               in the absence of explicit legal provisions. It
organizations, traditional healers and State     is also done through public policy. For
agents; promoters additionally include family    example, Malaysia has adopted plans to curb
and community members, political                 behaviours perceived as immoral, including
authorities and other agents.                    same-sex behaviour, and speciﬁcally
                                                 promotes practices of “conversion therapy”,
Faith-based organizations and religious          including through university programmes.
authorities in particular operate in a space
surrounded by blurred lines, advising the
family and victim and often promoting or
providing the practices alone or in
partnership with others.                            Young people are disproportionally
                                                    subjected to practices of
Conversion therapy is a lucrative business for      “conversion therapy”. A recent
providers around the world. Marketing
mechanisms operate to support the business          global survey suggests that 4 out
model, and some States actively perpetrate          of 5 persons subjected to them
or promote abuse through such practices.            were 24 years of age or younger
                                                    at the time and, of those, roughly
   EXHIBIT P                                        half were under 18 years of age. 1
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WHAT ARE THE
APPROACHES USED IN
“CONVERSION THERAPY”
PRACTICES?
There were three main approaches identiﬁed
in the practice of “conversion therapy”:

PSYCHOTHERAPY
Interventions based on the belief that sexual
or gender diversity is a product of an
abnormal upbringing or experience. Variations
applied include psychodynamic, behavioural,
cognitive and interpersonal therapies. A
recurrent method used is aversion (electric
shocks, nausea-inducing or paralysis-inducing
drugs) through which a person is subjected to
a negative, painful or otherwise distressing
sensation while being exposed to a certain
stimulus connected to their sexual
orientation.

MEDICAL
Practices rooted on the postulation that
sexual or gender diversity is an inherent
biological dysfunction. They rely on
pharmaceutical approaches, such as
medication or hormone or steroid therapy. In
the Islamic Republic of Iran, individuals who
inevitably fail at “converting” their sexual
orientation will often be pressured to
undergo gender-afﬁrming surgery, in the
belief that it will neutralize their orientation.

FAITH-BASED                                              “The degrading nature of many
Interventions that act on the premise that               conversion therapy practices,
there is something inherently evil in diverse            including physical abuse,
sexual orientations and gender identities.
                                                         electro-shock therapy,
Victims are usually submitted to the tenets of
a spiritual advisor, and subjected to                    pseudo-medical procedures, and the
programmes to overcome their “condition”.                use of anti-LGBT epithets and slurs,
Such programmes can include anti-gay slurs
                                                         contribute to an overall
as well as beatings, shackling and food
deprivation. They are also sometimes                     dehumanising environment towards
combined with exorcism.                                  persons with diverse SOGI.”




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WHAT ARE THE
CONSEQUENCES OF
“CONVERSION THERAPY”
PRACTICES?
The methods and means commonly utilized              These practices also violate the prohibition of
to implement practices of “conversion                torture and ill-treatment, since they take
therapy” lead to psychological and physical          point of departure in the belief that sexually
pain and suffering. The deep impact on               diverse or gender-diverse persons are
individuals includes signiﬁcant loss of              somehow inferior – morally, spiritually or
self-esteem, anxiety, depressive syndrome,           physically – than their heterosexual and
social isolation, intimacy difﬁculty,                cisgender siblings and must modify their
self-hatred, shame and guilt, sexual                 orientation or identity to remedy that inferiority.
dysfunction, suicidal ideation and suicide           Therefore, any means and mechanisms that
attempts and symptoms of post-traumatic              treat LGBT persons as lesser human beings
stress disorder.                                     are degrading by their very deﬁnition and may
                                                     amount to torture depending on the
The application of international human rights        circumstances, namely the severity of
law is guided by the fundamental principles          physical and mental pain and suffering
of universality, equality and                        inﬂicted. Finally, these practices also violate
non-discrimination. Practices of “conversion         the right to health, including the freedom
therapy” target a speciﬁc group on the               from non-consensual medical treatment.
exclusive basis of sexual orientation and
gender identity, with the speciﬁc aim of
interfering in their personal integrity and             “The IESOGI is convinced that the
autonomy. In that sense, such practices are             decision to subject a child to
inherently discriminatory.
                                                        conversion practices can never
                                                        truly be in conformity with a child’s
                                                        best interests. Parents must make
All practices attempting conversion                     decisions for their children under
are inherently humiliating,                             the premise of informed consent,
demeaning and discriminatory. The                       which entails knowing the
combined effects of feeling                             practice’s true nature, its inability
powerless and extreme humiliation                       to actually achieve “conversion”,
generate profound feelings of shame,                    and the mounting evidence pointing
guilt, self-disgust, and                                towards its long-term physical and
worthlessness, which can result in a                    psychological harm”.
damaged self-concept and enduring
personality changes.




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RECOMMENDATIONS
TO STATES

The IESOGI has called for a global ban on
practices of “conversion therapy”, a process
that must include: clearly deﬁning the
prohibited practices; ensuring public funds
are not used to support them; banning
advertisements; establishing punishments for
non-compliance and investigating respective
claims; creating mechanisms to provide
access to all forms of reparation to victims,
including the right to rehabilitation. He also
recommends that States:

a. Take urgent measures to protect children
        and young people from practices of
        “conversion therapy”,

b. Carry out campaigns to raise awareness
        among parents, families and communities
        about the invalidity and ineffectiveness of
        and the damage caused by practices of
        “conversion therapy”;

c. Adopt and facilitate health-care and
        other services related to the exploration,
        free development and/or afﬁrmation of
        sexual orientation and/or gender identity,

d. Foster dialogue with key stakeholders,
        including medical and health professional
        organizations, faith-based organizations,
        educational institutions and
        community-based organizations, to raise
        awareness about the human rights
        violations connected to practices of
        “conversion therapy”.


Criminalisation, demonization and
pathologisation play a role in
perpetuating violence and
discrimination on the basis of SOGI
and enable the exposure of LGBT
persons to practices of conversion.
Combatting such biases and
prejudices requires action on the
part of States, the medical
community, and civil society.




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 Languages available: Arabic, Chinese,                                                                                     #IESOGI
 English, French,
    EXHIBIT    P Russian and Spanish.                                                                                                  4
